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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

          MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA                )
                                        )     CRIMINAL ACTION NO.
     v.                                 )        3:14cr403-MHT
                                        )             (WO)
JAMES RICHARD LAWLOR                    )


                                   ORDER

      Based on the representations made on the record on

June 26, 2015, it is ORDERED as follows:

      (1) Sentencing for defendant James Richard Lawlor

is   to    resume    on   July    21,    2015,   at     10:00    a.m.,    in

Courtroom       2FMJ      of     the     Frank     M.     Johnson         Jr.

United       States       Courthouse        Complex,       One      Church

Street, Montgomery, Alabama.

      (2) By no later than July 16, 2015, counsel for the

government, counsel for defendant Lawlor, and probation

are to file a joint treatment plan that will address

defendant       Lawlor's         alcohol     addiction,          pain-drug

addiction, and possible bipolar disorder.

      DONE, this the 29th day of June, 2015.

                                          /s/ Myron H. Thompson___
                                       UNITED STATES DISTRICT JUDGE
